      Case: 1:24-cv-03238 Document #: 29 Filed: 05/24/24 Page 1 of 2 PageID #:617




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 RACHEL ANDERSON,

         Plaintiff,                                           Case No.: 1:24-cv-03238

 v.                                                           Judge Lindsay C. Jenkins

 THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge Young B. Kim
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                      DEFENDANT

                 47                                  VIP Jewelry Accessories

                 19                                   Qiwen Co., Ltd.
                 21                                      YHPaster
                 15                                    hdcrystalgifts
                 52                            Yanzi Process Production Facto
                 51                                Caiyue Craft Factory


DATED: May 24, 2024                                    Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       33 W. Jackson Blvd., #2W
                                                       Chicago, Illinois 60604
                                                       Telephone:312-971-6752
                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF

                                                 1
    Case: 1:24-cv-03238 Document #: 29 Filed: 05/24/24 Page 2 of 2 PageID #:618




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 24, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt




                                                  2
